Case 22-56501-pmb           Doc 170     Filed 11/29/22 Entered 11/29/22 17:15:32               Desc Main
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

  In re:                                                Chapter 11

  CUREPOINT, LLC,                                       Case No. 22-56501- PMB

                           Debtor.



                                     CERTIFICATE OF SERVICE

           I certify that on November 21, 2022, I electronically filed the Motion for Order Fixing Bar Date

 for Filing Proofs of Claim [Doc. No. 154] using the CM/ECF system which automatically sent email

 notification of such filing to all parties who have appeared in this case under the Bankruptcy Court’s

 Electronic Case Filing Program.

           Dated: November 29, 2022

                                                                  Respectfully submitted,

                                                                  /s/ _Nathaniel T. DeLoatch
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